          Case 1:17-cr-00201-ABJ Document 575 Filed 04/17/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       )
                                                )
                 v.                             )
                                                )
 RICHARD W. GATES III,                          )             Crim. No. 17-201-2 (ABJ)
                                                )
                 Defendant.                     )


DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION FOR PERMISSION
                          TO TRAVEL

       Defendant, by and through counsel, respectfully moves this Court to grant him

permission to travel. Mr. Gates asks the Court to grant him permission to travel to participate in

a ministry and fellowship retreat to which he was invited, specified in Exhibit 1, which will take

place outside the jurisdiction of his release conditions. The United States Attorney’s Office for

the District of Columbia has authorized the undersigned to represent that it does not oppose this

motion.

       If the Court grants the limited permission to travel for the trip, Mr. Gates will promptly

provide Pretrial Services with any specific information about the trip, including the information

identified in Exhibit 1 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves to grant him permission to travel

according to the limits specified above and in Exhibit 1.


                                                     Respectfully submitted,


                                                     /s/Thomas C. Green
                                                     Thomas C. Green
                                                     D.C. Bar No. 14498
                                                     Sidley Austin LLP
                                                     1501 K Street, N.W.


                                                 1
Case 1:17-cr-00201-ABJ Document 575 Filed 04/17/19 Page 2 of 2



                                  Washington, DC 20005
                                  tcgreen@sidley.com
                                  (202) 736-8069 (telephone)
                                  (202) 736-8711 (fax)

                                  Attorney for Richard W. Gates III




                              2
